Case 4:19-cv-01308-JST Document 68-15 Filed 05/18/20 Page 1 of 23




                      EXHIBIT A
         Case 4:19-cv-01308-JST Document 68-15 Filed 05/18/20 Page 2 of 23




 S gay
                                                                                                                                 Alan C.   Brandt



    arpe LLP                                                                                                    Emaiugé‘iiig'gifis‘iigiiigm
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 Intellectual     Property        Law                                                                                 Dirac, 3159;555:995


                      —                                                                                         Email: mwillis@faysharpe.com

 FOR     SETTLEMENT PURPOSES ONLY

 SUBJECT TO             FEDERAL RULE OF EVIDENCE 408



 April 25, 2017                                                         Via Email (ondaswimming@gmail.com)
                                                                        U.S.    First Class      Mail

                                                                        (Tracking No. 9114 9014 9645 1169 6150 75)



  Rolandus Gimbutis

  Oakland Undercurrent Swim Team

  4096    Piedmont Ave #181

  Oakland, CA 94611


  Re:     Unauthorized       Copying and              Distribution of              Winning Isn't Normal and

          Unauthorized Use of the WINNING ISN’T NORMAL Trademark
          FS   Ref.   No.   BELK 900129USO1




  Dear Mr.      Gimbutis:


  Our firm      represents    Dr.    Keith     Bell          regarding       the    above   captioned      matter.    Having      received      no

  response to our initial         letter e-mailed to you on April 4, 2017, we are resending our initial letter
  herewith via e-mail and U.S.                First Class Mail.                Please see the enclosed copy of our initial letter
 for    additional    information.       Since          it    appears        that you      may   not    have   received    or   may    not   have

 opened our previous correspondence, our client is willing to extend the offer and associated
 conditions of our initial          letter.       Please provide your response by May 9,                           2017.        Even   if you   do
 not    agree    with   certain     portions       of        our   initial   letter,   a   response      indicating   your      disagreements

 would be useful in resolving this matter through further dialog and negotiations.


 Nothing contained or omitted from this letter will be deemed to be an admission of any fact or
 waiver of any rights or remedies with respect to the subject of this letter, all of which rights and

 remedies are expressly reserved.


 Very truly yours,

 Fay Sharpe LLP


24L adbwwflw
Alan C. Brandt

Mandy B. Willis

BELK 9001290301       4027322 1




            The Halls Building, 5th     Floor     I     1228

            Telephone: 216.363.9000           I    Facslml




           PROTECTING                   IDEAS                SI
                  Case 4:19-cv-01308-JST Document 68-15 Filed 05/18/20 Page 3 of 23


                  ay                                                                                                                                                    Alan C. Brandt
      S           ar                     e             LLP                                    .
                                                                                                                                                          Direct Dial: 216.363.9114
                                                                                                                                                   Email: abrandtafaysharpecom

      Intellectual Property Law                                                                                                                                         Mandy B. Willls
                                                                                                                                                         Direct Dial: 216.363.9176
      —                                                                                                                                            Email: mwillis@taysharpe.com

      FOR SE1TLEMENT PURPOSES ONLY

      SUBJECT TO FEDERAL RULE OF EVIDENCE 408



      April 4, 2017                                                                           Via Email (ondaswimming @ gmail.com)



      Rolandus Gimbutis
      Oakland Undercurrent Swim Team
      4096 Piedmont Ave #181

      Oakland, CA 94611


      Re:    Unauthorized Copying and Distribution of                                                    Winning Isn't Normal and

             Unauthorized Use of the WINNING ISN'T NORMAL Trademark

             FS Ref. No.                BELK 900129USO1




      Dear Mr. Gimbutis:

    Our firm      represents Dr.                           Keith       Bell regarding the above captioned matter.                                       Dr.   Bell is the author

    and     owner       of    the       copyright for                       a   literary work            entitled     Winning               Isn’t Normal (see              Exhibit      A           -

   Reg. No. TX0002672644).       This copyrighted literary work is from Dr. Bell's Winning Isn’t
   NormalU series of literary works that are sold online through various outlets and distributed
   nationwide.               For example,                        the       Winning Isn’t Normal book as well                                  as posters and t-shirts                with

   representations of the book’s page 8 are sold via Keel Publications (see Exhibit B).                                                                                              Keel
   provides       Dr.        Bell’s contact information for those interested in obtaining permissions and/or
   licenses authorizing copying and distribution of the copyrighted literary works.                                                                                    As emphasized

  by the posters and t-shirts,                                     Winning Isn’t Normal and the content of page 8 (see Exhibit 0)
  reflect    the    thesis               for           an        approach           to        motivate         winning                (Le,       success)      that        transcends

  competitive sports to other fields in which success is desirable.                                                                          Dr. Bell also has a federally
  registered trademark WINNING ISN'TNORMAL (see Exhibit D - Reg. No. 4,630,749) for
  printed matter, namely, non-fiction publications, namely, books, booklets, pamphlets                                                                                         articles
 manuals          and         posters                  in        the       field   of    sports,          fitness,         and         competitive            performance               am;

 psychology. Our client has expressed concern that the Oakland Undercurrent Swim Team
 (Oakland Undercurrent), 0r_PerhaPS an associate, has engaged In unauthorized copying a d
 distribution of a representation of page 8 of Winning Isn’t Normal and unauthorized                                                                                                            n
 trademark. thereby infringing his copyright and trademark.                                                                                                                  use Of his

                             cember 23, 2015, an image representation of page 3 of WI .      ’
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was     P05“ad          on     without proper attribution                                         (see    Exhibit     E).       The          posted     ima    mteam)              Without
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            Telephone: 216.363.9000 I
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this      letter,     the       infringing       post        was        ell           an          ndercurrent TWItter account.                                               At the time of

UndercurrentsTwitter profile (See Exhibit F).
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Our        client     was         never         contacted              by          Oakland
                                                                                                     Undercurrent                    or        anyone                    else        requesting
permission to create the above-described derivati
                                                                                                  vs         representations                    of   page                B   or      to    post        the
derivative image representation anywhere on the
                                                                                                     lntemet.              Moreover,                 the Image was posted
on        the   Oakland              Undercurrent            Twitter               account       with         no         attribution            to    anyone.                        This         leads

 viewers         of   the       post      to    believe       incorrectly             that       Oakland                 Undercurrent                 is       the           author              and/or

 copyright owner or at least authorized to post the derivative image representation.

 In       the   context         of    copyright         infringement.                 willfulness              is        demonstrated                 by             showing                    that    an

 infringer recklessly disregarded the possibility that its conduct represented infringement.                                                                                                           The
 copyright            owner          is   not     required             to      show        the       infringer             had        knowledge                          that        its        actions
 constituted               an     Infringement.                The            test     for       willful            copyright                 infringement                    is         “objective
     recklessness“ OR “subjective intent."                                  The concepts of “blind-eye intent" and "willful blindness"
     have also been used to explain the “recklessness” prong.

     Under      these       circumstances.                  posting           the    derivative              image         representation                           of       page          a     on     the
     Oakland        Undercurrent Twitter account is                                  considered willful                        infringement.                   We            also          note        that

     Twitter warns users in its terms of service not to post content or take any action that infringes

     or   violates     someone            else's      rights.          Twitter        users       that        post        or       share       content               that       is       generated

     by someone else do so at their own risk.                                          Depending on the circumstances, the posting of
     Infringing content can create liability for willful copyright infringement.                                                                 Moreover, in addition to
     liability for direct infringement arising from the post, Oakland Undercurrent could be liable for
     creating unauthorized derivative works if Oakland Undercurrent personnel and/or an associate
     created any of the unauthorized derivative representations.

     In view of the facts and information provided above, Oakland Undercurrent is liable for at least
     direct copyright infringement and trademark infringement.                                                            Our client would like to resolve this
     matter     amicably             without      resorting            to     litigation.         In         order to          do     so,       we        require               that            Oakland
     Undercurrent take the following steps:
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Oakland Undercurrent SWIm                       I earn

April 4, 2017
Page 3
                                                                                                                            ed     uses            of the           registered

      Normal or any of our client’s other works and any unauthoriz
      trademark;                                                                                                                        ts    of    all    distributions,


5)    Provide us with an explanation ofons
                                         the ofnature, duration, excerpts
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                                                                 and amounor                                                                 representations                   by
      displays, and other disseminati
      Oakland       Undercurrent               that       are   identical      or       substantially             similar              to    any      portion           of    the
      copyrighted literary work Winning Isn’t Normal or any of our client’s other works and any
      unauthorized uses of the registered trademark;

 6)   If any of the unauthorize                                                           presentations of page 8 of                                      Winning Isn’t
      Normal were not created by Oakland Undercurrent personnel or an associate, provide us
                                         hich such unauthorized derivative repress                                                 '                            '       '
      with the source from w
                                                          xed   copies of any unauthorized excerpts or representations
 7)   Deliver all paper and other fl                                      r   to    any    portion           of       the    copyrighted                  literary          work

      that   are   identical      or    substantially simila
                                                  f our client’s               other works                and     any         unauthorized                     uses     of the
       Winning Isn’t Normal or any 0
       registered trademark to our office for destruction; and                                        n     exchange               for        releasing              Oakland
                                                                    nt   to    our      office    i
                                                                                                                           ement            associated               with     the
 8)    Send a $25,000 settlement payme
       Undercurrent from liability for copyright and trademark infring
       actions described above.                                                                                              lopment               and         authorized
                           invested       significant             funds                               we    are           prepared           to    take        aggressive
 Our     client    has
                                                      d    literary work.          As    such,                                If   Oakland                Undercurrent
 dissemination of his copyrights
                                                                                                                          east     initiate         best            efforts    in
  legal action to protect our client’s Winning Isn’t Normal copyright.
                                                                                                             t    reserves                  the    right       to    seek     all
  does    not     take    the    steps         enumerated           above          or    does         not    at       I

  negotiating a reasonable settlement of this matter, our clien
  remedies        provided       by    law,      including         injunctions;          actual           damages;               statutory            damages;                fun
                                hie attorneys’ fees.
                                                                    the       $25,000       settlement                     offer       and         the      other       steps

  Please     advrs
                                          'I    18,       2017.    Once we hear from you, we shall                                          provide a settlement
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 Nothing contai                                             th respect to the su
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Case 4:19-cv-01308-JST Document 68-15 Filed 05/18/20 Page 6 of 23




                             EXHIBIT A
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                           EXHIBIT B
                    Case 4:19-cv-01308-JST Document 68-15 Filed 05/18/20 Page 9 of 23


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                                    2""   "Goals are merely excuses for the games. They allow you to play. They bring meaning
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                                          immersion in its pursuit. A total                  absorption in the quest gets you truly engaged in life,                                      M / W;

                                          feeling alive, performing better, reaping the rewards and squem'ng out every drop of
                                          meaning life has to offer." — Dr. Keith Bell, Target on Gold



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                                          lntemationally known performance expert, Dr. Keith Bell, presenu 76 rules that
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                                           for your child, what to             expect from        a team,   the coach, yonrswimmer, and the sport.                                                     .

                                           Practical        advice    in   a quick. easy.    enjoyable read.     Cm / Baum                                                       (eBook coming                  soon)




                                           THE        SWIM      TO WIN PLAYBOOK — $34.95                                                                                                  Sohcover

                                           More       than    150 games,       drills,    and quizzes   designed to foster competitive swimming

                                           excellence         and enjoyment.        Complete with sample plays                   from Olympic quadruple gold                     @

                                           medalist, Amy Van Dyken, and Olympic triple gold medalists, Sandy Neilson—Bell
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                                           mental      skills training        for the entire team.      256 pages.         Workbook.          9mm / mm




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                                 EXHIBIT C
Case 4:19-cv-01308-JST Document 68-15 Filed 05/18/20 Page 16 of 23




  Winning Isn’t Normal
         Winning isn't normal. That doesn't mean there's anything

  wrong with winning.                      It just isn't the norm.                    It's highly unusual.

         Every race only has one winner. No matter how many

   people are entered (not to mention all those who tried and failed
   to   make        cuts),    only    one          person     (or      one    relay)     wrns      each       event.

          Winning is unusual. As such, it requires unusual action.
          In    order to win,             you      must do extraordinary things.                          You   can't

   just be one of the crowd. The crowd doesn't wrn. You have to
   be willing to stand out and                          act differently.

          Your actions           need         to    reflect       unusual       values and         priorities.

   You     have to value             success            morethan          others do.        You         have to

   want        it   more.    (Now,        take      note!     Wanting           it   more   is a   decision

   you     make and           act    upon          -—   not some inherent quality or burning
   inner drive or            inspiration!)              And   you      have. to       make that value

   a    priority.

          You       can't train       like     everyone           else.    You       have to train        more

   and train better.
          You       can't talk       like everyone else.                  You    can't   think like every-

   one    else.       You    can't    be      too       willing   to   join     the   crowd,       to    do   What


    is expected,            to act   in   a   socially accepted                 manner,     to do what's

                You    need to       be willing to stand                  out in      the crowd and

   consistantly take exceptional action. If you want to win, you
    need to accept the risks and perhaps the loneliness . . . because
   Winning isn 't normalll
Case 4:19-cv-01308-JST Document 68-15 Filed 05/18/20 Page 17 of 23
  Case 4:19-cv-01308-JST Document 68-15 Filed 05/18/20 Page 18 of 23




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              WINNING ISN'T NORMAL




Reg. No. 4,630,749        BELL. KEITH FRANK (UNITED STATES INDIVIDUAL)
    .                     3101   MSTYGLEN           CIRCLE



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                          SUSAN STIGLITZ, EXAMINING ATTORNEY




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Case 4:19-cv-01308-JST Document 68-15 Filed 05/18/20 Page 19 of 23




                          EXHIBIT E
              Case 4:19-cv-01308-JST Document 68-15 Filed 05/18/20 Page 20 of 23                                                                                       1/2/16.   1355   ’1
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             Oakland Undercurrent    wrists     FO;;O\‘.‘ERS       LIKES            LISTS
             eONDAsm'mteam            244           37                 5                1                                                                         2:   Follow



    ‘5’   oaklandundercurrentorg              Oaldand UM i‘ONDAswimteam - 23 Dec 2015
          Joined July 2013                    Winning    isn't normal...




    to 191 Photos and videos

                                                  Winning isn't normal.                  That doesn't mean there is anything
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‘akland   Undercurrent   (OONDAswlmteam) |   Twitter


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                                                           Oakland Undercurrent                   ‘ONDAswimteam - 25 Nov 2015


                                                            Social kick to finish pre thanksgiving

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                                                            Oakland    Undercurrent                CNDAs       2"”.3‘"


                                                            Surprise tent visit by                                          AnthonyErvin at
                                                            swim meet this weekend.




                                                             Oakland   Undercurrent                of‘mAsWimteam - 7 Nov 2015

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